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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

UNITED STATES OF AMERICA,                )
                                         )
Plaintiff,                               )
                                         )
            v.                           )    No.     2:08-CR- 62
                                         )
THOMAS FRANCO,                           )
                                         )
Defendant.                               )

                                  ORDER

      This matter is before the Court on the Findings and

Recommendation of the Magistrate Judge Upon a Plea of Guilty

By Defendant Thomas Franco, (DE # 37) filed on November 7,

2008. No objections have been filed to Magistrate Judge

Cherry’s findings and recommendations upon Defendant’s plea of

guilty.    Accordingly, the Court now ADOPTS those findings and

recommendations, ACCEPTS Defendant Thomas Franco’s plea of

guilty, and FINDS the Defendant guilty of Count 2 of the

Indictment, in violation of Title 18 U.S.C. § 641.

      This matter is set for sentencing on January 21, 2009, at

1:30 p.m.



DATED:    November 26, 2008              /s/RUDY LOZANO, Judge
                                         United States District Court
